Case 1:19-cr-O0065-TSK-MJA Document1 Filed 11/05/19 Page 1of1 PagelD#: 1

FILED

IN UNITED STATES DISTRICT COURT FOR THE NOV 05 2019

NORTHERN DISTRICT OF WEST VIRGINIA
U.S. DISTRICT

CLARKSBURG JOR TE WND

G, WV 26301
UNITED STATES OF AMERICA,

Criminal No. [. Iq Or”, G S -TS IC

BRIAN KEITH ROSE, Violation(s): 18 U.S.C. § 111(a)(1)
Defendant.

 

 

INDICTMENT
The Grand Jury charges that:
COUNT ONE
(Assault of a Correctional Officer Involving Physical Contact)

On or about October 31, 2018, in Preston County, in the Northern District of West Virginia, the
defendant, BRIAN KEITH ROSE, an inmate in the custody of the Bureau of Prisons at Federal
Correctional Institution Hazleton, did intentionally and forcibly assault a person designated in Section
1114 of Title 18 of the United States Code, to wit: M.A., a federal correctional officer employed with
the Federal Bureau of Prisons, while said officer was engaged in the performance of official duties, and,

in doing so made physical contact with M.A.; in violation of Title 18, United States Code, Section

 

111(a)(1).

A true bill,

/s/

Grand Jury Foreperson
/s/

 

WILLIAM J. POWELL
UNITED STATES ATTORNEY

Brandon S. Flower
Assistant United States Attorney
